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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE



 DAVID ALAN COLE &
 KIMBERLY COLE,

                Plaintiffs,
                                                      Civil Action No.: 1:23-cv-00398-LM-AJ
 v.

 SIG SAUER INC.,

                Defendant.


                      SIG SAUER, INC.’S MOTION TO CLOSE CASE

       NOW COMES the Defendant, Sig Sauer, Inc., by and through undersigned counsel, and

for the reasons outlined below, respectfully requests that the United States District Court, District

of New Hampshire close Case No. 1:23-cv-00398-LM-AJ as follows:

       1.      On August 18, 2023, undersigned counsel mistakenly filed a Notice of Removal

from Somerset County Superior Court (Maine) under Case No. CV-2023-27 to the United States

District Court, District of New Hampshire. Attached to the Notice of Removal was the Complaint,

the Acceptance of Service, Somerset County Superior Court Notice of Removal and the Civil

Cover Sheet.

        2.     The Notice of Removal was inadvertently filed with the United States District

Court, District of New Hampshire when it should have been filed with the United States District

Court, District of Maine.

        3.     It was not until August 22, 2023 that undersigned counsel realized that the Notice

of Removal was filed with the United States District Court, District of New Hampshire and not

the United States District Court, District of Maine. Upon learning of this mistake, undersigned

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counsel refiled the Notice of Removal with the United States District Court, District of Maine

on August 23, 2023.

        4.     The United States District Court, District of Maine has accepted the Notice of

Removal and has issued an original and amended Scheduling Order dated August 30, 2023 and

September 20, 2023 respectively. The parties are in the process of discovery in that matter.

        WHEREFORE, based on the above, it is respectfully requested that Case No. 1:23-cv

00398-LM-AJ; Cole, et al. v. Sig Sauer, Inc. be closed in the United States District Court,

District of New Hampshire.



                                             Respectfully submitted,

 Dated: September 27, 2023                    /s/ Mark V. Franco
                                              Mark V. Franco, Esq.
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                               CERTIFICATE OF SERVICE
       I, Mark V. Franco, Esq., hereby certify that on this 27th day of September, 2023, I filed

the foregoing with the Clerk of Court for the United States District Court for the District of New

Hampshire using the CM/ECF system and notified counsel for Plaintiffs via electronic mail at

the following addresses:

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